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       EXHIBIT B
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                                                         UNITED STATES
                                             SECURITIES AND EXCHANGE COMMISSION
                                                                         Washington, D.C. 20549

                                                                            FORM 10-K

l!l       Annual re port pursuant to section J3 or IS(d) of the Securities Exchange Act of 1934

                                                                  for the fiscal year ended January 3 1, 2017 , or

D         Transition report pursuant to section 13 or 15(d) of the Securities Exchange Act of 1934

                                                                       Commission file number 00 1-6991.




                                       Walmart
                                              WAL-MART STORES, INC.
                                                              (Exact name of registrant as specified in its charter)


                                     Delaware                                                                                      XX-XXXXXXX
                            (State or other jurisdiction or                                                                      (IRS Employer
                           incorporation or organization)                                                                       Identification No.)


                               702 S.W. 8th Street
                             Be ntonville, A rkans as                                                                                 7271 6
                       (Address or principal executive offices)                                                                     (Zip Code)

                                                 Registrant's telephone number, including area code: (479) 273-4000

                                                          Securities registered pursuant to Section 12(b) of the Act:

                                 Title of each class                                                                 Name of each exchange on which registered
                  Common Stock, par value $0.10 per share                                                                 New York Stock Exchange

                                                       Securities registered pursuant to Section l 2(g) of the Act: None



Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act.
Yes !BJ      No D

indicate by check mark if the registrant is not required 10 file reports pursuant to Section 13 or Section I5(d) of the Exchange Act.
Yes D        No !BJ
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Indicate by check mark whether the registrant (I) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the
preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for at least
the past 90 days.
Yes IBI      No D

Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every Interactive Data File required to be
subniiued and posted pursuant 10 Rule 405 of Regulation S-T (§232.405 of this chapter) during the preceding 12 months (or for such shorter period that the
registrant was required to submit and post such files).
Yes IBI      No D

Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K is not contained herein, and will not be contained, to the best of
registrant's knowledge, in definitive proxy or information statements incorporated by reference in Part 111 of this Form I0-K or any amendment to this Form IO-
K. D

indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer or a smaller reporting company. See the
defin itions of "large accelerated filer," "accelerated filer" and "smaller reporting company" in Rule l 2b-2 of the Exchange Act.

Large Accelerated Filer                         (BJ                              Accelerated f,iler                               D
  on-Accelerated Filer                          D                                Smaller Reporting Company                        D
Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act).
Yes O        No IBI

As of July 31 , 2016, the aggregate market value of the voting common stock of the registrant held by non-affiliates of the registrant, based on the closing sale
price of those shares on the ew York Stock Exchange reported on July 29, 2016, was $108,531,045,541. for the purposes of this disclosure only, the registrnnt
has assumed that its directors, executive officers (as defined in Rule 3b-7 under the Exchange Act) and the beneficial owners of5% or more of the registrant's
outstanding common stock are the affiliates of the registrant.

The registrant had 3,033,009,079 shares of common stock outstanding as of March 29, 2017 .

                                                       DOCUM ENT S I NCORPORATED BY REFERENCE
Document                                                                                    Parts Into Which lncoq Jorated
Portions of the registrant's Annual Report to Shareholders for the Fiscal Year              Parts I and II
Ended January 31 , 2017 (the "Annual Repon to Shareholders") included as
Exhibit 13 to this Form 10-K


Portions of the registr,m l's Proxy Statement fur lhe Annual Meeting of                     Par t Ill
Shareholders to be held June 2, 2017 (the "Proxy Statement")

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                                                                            W ALMART U.S. SEGMENT
                                                          RETAIL UNlT COUNT ANO RETAI L SQUARE FEET (1>

                                                       Supercenters                                                                       Discount Stores
                                                                                           Square                                                                          Square
Fiscal Year            Opened        Closed         C onversions (l)         Total          Feet          Opened          Closed           Conver sions (lJ       Total     Feet
Balance forward                                                               3,029          552,237                                                                629      66,402
2013                         55                                   74          3,158          570,409            7                  ( I)                   (74)      56 1     59,098
2014                         72                                   58          3,288          589,858            4                                         (57)      508      53,496
20 15                        79                                   40          3,407          607,415            2                                         (40)      470      49,327
2016                         55          (16)                     19          3,465          616,428                               (9)                    (19)      442      45,991
2017                         38           (2)                     21          3,522          625,930                               (6)                    (21)      415      43,347



                                     Nelgl1borbood Markets and Other Small Formats                                                              Total Segment
                                                                                           Square                                                                          Square
Fiscal Year           Opened         C losed        C onversions <')         Total          Feet                        Opened <'>             C losed            Total     Feet
Balance forward                                                                 210            8,047                                                               3,868    626,686
2013                         79           (3)                                   286           11,226                           14 1                        (4)     4,005    640,733
2014                        122                                   (I)           407           15,778                           198                                4,203     659, 132
2015                        235           (3)                                   639           23,370                           3 16                        (3)     4516     680.112
2016                        161         ( 133)                                  667           27,228                           2 16                      ( 158)    4,574    689,647
2017                         73           (5)                                   735           30,012                           I ll                       ( 13)    4.672    699,289

(I) "Total" and "Square Feet" columns are as of January 31 forthe years shown. Retail square feet are reported in thousands.
(2) Conversions of discount stores or Neighborhood Markets 10 supercenters.
(3) Total opened, ne1 of conversions of discount stores or Neighborhood Markets to supercenters.

                                                                                              8
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Digital. Walma rt U.S. provides its customers access to a broad assortment of merchandise, including products not found in our physical stores, and services online
through our e-commerce websites, including walmart.com,jet.com, hayneedJe.com and shoebuy.com, as well as mobile commerce applications. Walman.com
experiences on average 92 million unique visitors a month and offers access to over 38 mill ion SKUs, including those carried on Marketplace, a feature of the
website that permits third parties to sell merchandise on walmart.com. Walman.com is also integrated with our physical stores through services li ke "Walmart
Pickup," "Pickup Today" and "Online Grocery." The Walmart U.S. segment also offers access to digital content and services including Vudu and lnstaWatch.
Merchandise. Walmart U.S. does business in three strategic merchandise units, listed below, across several store formats including supercenters, discount stores,
Neighborhood Markets and other small store formats, as well as on our e-commerce websites.
         Grocery consists of a full line of grocery items, including meat, produce, natural & organics, deli & bakery, dairy, frozen foods, alcoholic and
         nonalcoholic beverages, floral and dry grocery, as well as consumables such as health and beauty aids, baby products, household chemicals, paper goods
         and pet supplies;
         Health and wellness includes pharmacy, optical services, clinical services, and over-the-counter drugs and other medical products;
         General merchandise includes:
                      Entertainment (e.g., electronics, cameras and supplies, photo processing services, cellular phones, cellular service plan contracts and prepaid
                      service, movies, m usic, video games and books);
              0       Hardlines (e.g., stationery, automotive, hardware and paint, sporting goods, outdoor living and horticulture);
                      Apparel (e.g., apparel for women, girls, men, boys and infants, as well as shoes, jewelry and accessories); and
                      Home/Seasonal (e.g., home furnishings, housewares and small appliances, bedding, home decor, toys, fabrics and crafts and seasonal
                      merchandise).
The Walmart U.S. segment also offers fuel and financial services and related products, including money orders, prepaid cards, \vire transfers, money transfers,
check cashing and bill payment. These services total less than I% of annual net sales.
National brand merchandise represents a significant portion of the merchandise sold in the Walmart U.S. segn1ent. We also market lines of merchandise under our
private-label store brands, includi11g: "Adventure Force," "AutoDrive," "BlackWeb," "Equate," "Everstart," "Faded Glory," "George," "Great Value," "Holiday
Time," "Hyper Tough," "Kid Connection," "Mainstays," "Marketside," "My Life As," "No Boundaries," "01' Roy," "Onn," "Ozark Trail," "Parent's Choice,"
"Prima Della," "Pure Balance," "Sam's Choice," "Special Kitty." "Spring Valley," "Way to Celebrate," and "White Stag." The Company also markets lines of
merchandise under licensed brands, some of which include: "Better Homes & Gardens," "Danskin Now," "Farberware," "OP," "Russell," "Starter" and
"SwissTecb."
The percentage of net sales for the Walmart U.S. segment, including online sales, represented by each strategic merchandise unit was as follows for fiscal 20 17 ,
2016 and 20 IS :

                                                                                                                                 Fiscal Years Ended Janua ry 31,
STRAT EG IC MERCHANDISE UNlTS                                                                                             2017                201 6                2015
Grocery                                                                                                                   56%                 56%                  56%
Healih and wellness                                                                                                        11%                11%                  11%
General merchandise                                                                                                       33%                 33%                  33%
Total                                                                                                                     100%                100%                 100%

Periodically, revisions are made to the categorization of the components comprising our strategic merchandise units. When revisions are made, the previous
periods' presentation is adjusted to maintain comparability.
O perations. Many supercenters, discount stores and Neighborhood Markets are open 24 hours each day. A var ie ty of payment methods are accepted at our stores
and through our e-commerce websites and mobi le commerce applications.
Seasona l Aspect.s of Ope ratio ns. The Wal mart U.S. segment's business is seasonal to a certain extent due to calendar events and national and religious holidays,
as well as different weather patterns. Historically, its highest sales volume and segment operating income have occurred in the fiscal quarter ending January 31.

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Competition. The Wal mart U.S. segment competes with a variety of local, national and global chains in the supermarket, discount, grocery, department, dollar,
drug, variety and specialiy stores, supercenter-type stores, hypermarkets, e-commerce and catalog businesses. We also compete with others for desirable sites for
new or relocated retail units.
Our ability to develop, open and operate units at the right locations and to deliver a customer-centric experience that seamlessly integrates digital and physical
shopping largely detem1ines our competitive position within the retail industry. We employ many programs designed 10 meet competitive pressures within our
industry. These programs include the following:
         EDLP: our prici ng philosophy under which we price items at a low price every day so our customers trust that our prices will not change under frequent
         promotional activity;
         EDLC: everyday low cost is our commitment to control expenses so our cost savings can be passed along to our customers;
         Rollbacks: our commitment to continually pass cost savings on to the customer by lowering prices on selected goods;
         Savings Catcher, Save Even More and Ad Match: strategies to meet or be below a competitor's advertised price;
         Walmart Pickup: customer places order online and picks it up for free from a store. The merchandise is flllfilled through our distribution facilities;
         Pickup Today: customer places order online and picks it up at a store within four hours for free. The order is fulfi lled through existing store inventory;
         Onli ne Grocery: customer places grocery order online and has it delivered to home or picks it up at one of our participating stores or remote locations; and
         Money Back Guarantee: our commitment to ensure lhe quality and freshness of lhe fruits and vegetables in our stores by offering our customers a 100
         percent money-back guarantee if they are not satisfied.
We offer a broad assortment of merchandise that provides one-stop shopping, in-stock levels that give our customers confidence that we will have the products they
need and operating hours that allow customers to shop at their convenience. In addition, our retail website and mobile commerce applications are important factors
in our competition with other retailers, particularly e-commerce retailers.
Distribution. For fiscal 20 17 , approximately 78% of the Wal mart U.S. segment's purchases of store merchandise were shipped through our 147 distribution
faci lities, which are located strategically throughout the U.S. The remaining merchandise we purchased was shipped directly from suppliers. General merchandise
and dry grocery merchandise is transported primarily through the segment's private truck fleet. However, we contract with common carriers 10 transport the
majority of our perishable grocery merchandise.
We ship merchandise purchased by customers on our reta il websites and through our mobile commerce applications by a number o f methods from multiple
locations including from our dedicated e-commerce fulfillment centers.
The following table provides further details ofour distribution facilities, including return facilities and 22 e-commerce dedicated fulfillment centers, as of
January 31 , 20 17:

                                                                                                        Owned and                            Third Party
                                                                                        O wned and      Thi.rd Party       Le;ised and       O n oed and
                                                                                         Operated        Operated           01icratcd         Operated            Total
Walman U.S. d1stnbuuon fac1littes                                                          !03               2                 1\l               23                147


                                                                                   10
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                                                                            SIGNATURES
Pursuant to the requirements of Section 13 or I 5(d) of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by
the undersigned, thereunto duly authorized.

                                                  Wal-Mart Stores, Inc.


Date: March 3 I, 2017                             By      Isl C. Douglas McMillon
                                                          C. Douglas McMillon
                                                           President and Chief Executi ve Officer

Pursuant to the requirements of the Securities Exchange Act of 1934, this report has been signed below by tbe following persons on behalf of the registrant and in
the capacities and on the dates indicated:

Date: March 3 1, 2017                             By      Isl C. Douglas McMillon
                                                          C. Douglas McMillon
                                                           President and Chief Executive Officer and Director
                                                          ( Principal Executive Officer)

Date: March 3 1, 2017                             By      Isl Gregory 8. Penner
                                                          Gregory 8. Penner
                                                          Cha irman of the Board and Director

Date: March 3 1, 2017                             By      Isl M . Brett Biggs
                                                           M. Brett Biggs
                                                           Executive Vice President and Chief Financial O fficer
                                                          (Principal Financial Officer)

Date: March 3 1, 2017                             By      Isl David M. Chojnowski
                                                           David M. Chojnowski
                                                          Senior Vice President and Controller
                                                          ( Principal Accounting Officer)

                                                              Signature Page to Wal-Mart Stores, Inc.
                                                       Form I 0-K for the Fiscal Year Ended January 3 I, 2017

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Date: March 31, 2017              By      Isl James l. Cash, Jr.
                                          James I. Cash, Jr., Ph.D.
                                          Director

Date: March 3 1, 2017             By      /s/ Pamela J. Craig
                                          Pamela J. Craig
                                          Director

Date: March 3 I , 2017            By      Isl Timothy P. Flynn
                                          Timothy P. Flynn
                                          Director

Date: March 3 1, 2017             By      Isl ll10mas W. Horton
                                          Thomas W. Horton
                                          Director

Date: March 3 1, 2017             By      Is/ Marissa A. Mayer
                                          Marissa A. Mayer
                                          Director

Date: March 3 1, 2017             By      Isl Steven S Reinemund
                                          Steven S Rcincmund
                                          Director

Date: March 3 1, 2017             By      Isl Kevin Y. Systrom
                                          Kevin Y. Systrom
                                          Director

Date: March 3 1, 2017             By      Isl S. Robson Walton
                                          S. Robson Walton
                                          Director

Date: March 3 1, 2017             By      Is/ Steuart L. Walton
                                          Steuart L. Walton
                                          Director

Date: March 3 I , 2017            By      Is/ Linda S. Wolf
                                          Linda S. Wolf
                                          Director

                                              Signature Page to Wal-Mart Stores, Inc.
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